             Case 4:98-cr-00106-LGW-CLR Document 930 Filed 01/24/19 Page 1 of 1

                                                                                                                                  FILED
AO 247(Rev. 11/1 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page I of2'(Pa^gp2 Kotrorfa^iiC'Oi^l^ure'^

                                        United States District Court ™|c l^^!2^
                                                                        for the                                                     J^
                                                       Southern       District of          Georgia                     CLERK
                                                                                                                       SO. DI5T. OF
                    United States of America
                                   V,

                                                                               Case No:        4:98-cr-00106-5_
                        Mark Elliott Martin
                                                                               USMNo:          09883-021
Date of Original Judgment:                        January 13, 1999
Date of Previous Amended Judgment: Not applicable                              Dennis Dozier, Sr.
{Use Date ofLast Amended Judgment ifAny)                                       Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of □ the defendant Q the Director of the Bureau of Prisons ^ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §131.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          D DENIED.            S GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                      360                   months is reduced to                        time served                 .
                                              (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                       January 13.1999,        shall remain in effect.
IT IS SO ORDERED.


Order Date:               January 24,2019
                                                                                                       Judge's signature

Effective Date:           January 28,2019                            LISA GODBEY WOOD
                                                                     UNITED STATES DISTRICT JUDGE
                     (ifdifferent from order date)                                                 Printed name and title
